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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       DARRYL LEE MCMILLAN

Docket Number:                       1:92CR05264-003 OWW

Offender Address:                    Bakersfield, California

Judicial Officer:                    Honorable Oliver W. Wanger
                                     Senior United States District Judge
                                     Fresno, California

Original Sentence Date:              12/13/1993

Original Offense:                    Count 1: 18 USC 2119 and 18 USC 2, Carjacking and
                                     Aiding and Abetting (CLASS B FELONY)
                                     Count 2: 18 USC 924(c)(1) and 18 USC 2, Use of
                                     Firearm During and in Relation to Crime of Violence
                                     and Aiding and Abetting (CLASS D FELONY)

Original Sentence:                   Count 1, 300 months BOP; Count 2, 60 months BOP,
                                     consecutively to Count 1; 5 years TSR; $2,120
                                     restitution; $100 special assessment; mandatory drug
                                     testing.

Special Conditions:                  Warrantless search; substance abuse counseling and
                                     testing; pay restitution in installments as determined by
                                     the probation officer.

Type of Supervision:                 Supervised release

Supervision Commenced:               12/30/2005

Assistant U.S. Attorney:             Dawrence Rice             Telephone: (559) 497-4000

Defense Attorney:                    Mark W. Coleman Telephone: (559) 233-2900




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                                                                              V IO LA T IO N __P E TIT IO N (P R O B 12B )
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Other Court Action:

03/25/1996:                  Re-sentencing after return on appeal. Sentenced to a
                             total term of 300 months BOP, 240 months on count 1
                             and 60 months on Count 2, to be served consecutively.

06/04/2001:                  Re-sentencing after return on appeal. Sentenced to
                             180 months BOP (downward departure).

12/30/2005:                  Began term of supervised release.

02/28/2006:                  The Court was advised of the defendant’s use of
                             cocaine. The recommendation was for a modification
                             of the conditions of supervision to include placement in
                             a community corrections center for 90 days. The Court
                             approved the modification.

06/13/2006:                  A Violation Petition was submitted alleging the
                             following: Charge 1: Failure to Comply with Probation
                             Officer Directive; Charge 2: Failure to Report Change
                             of Address; and Charge 3: Failure to Attend Substance
                             Abuse Counseling.

01/06/2006:                  After admitting Charges 1 and 3, defendant was
                             committed to the BOP for 8 months with 3 years of TSR
                             to follow with the same previously imposed conditions
                             of supervision.




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                              PETITIONING THE COURT

To modify the conditions of supervision as follows:

      The defendant shall reside and participate in a residential reentry center,
      Turning Point, Bakersfield for a period of up to 120 days; said placement
      shall commence as directed by the probation officer. The defendant shall
      pay the costs of confinement.


Justification: The defendant is scheduled to be released from the Bureau of Prisons on
July 3, 2007, to begin his 3-year term of supervised release. He has no release plan. The
Turning Point Residential Reentry Center has accepted the defendant as a public law
placement in order to allow the defendant to obtain employment and a suitable residence.
The defendant has agreed to the above modification by signing the Waiver of Hearing form
while still in the Bureau of Prisons.



                                Respectfully submitted,

                                  /s/ Rick C. Louviere

                                RICK C. LOUVIERE
                    Supervising United States Probation Officer
                            Telephone: (661) 861-4422

DATED:       July 2, 2007
             Bakersfield, California
             RCL




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THE COURT ORDERS:

(X)   Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

IT IS SO ORDERED.

Dated: July 2, 2007                         /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




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                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
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